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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:16-CV-2783

 Plaintiff,

 ROXANNE RUSSELL,

 v

 Defendant,

 UNITED STATES OF AMERICA.


                                          COMPLAINT


         Plaintiff Roxanne Russell, through counsel, alleges as follows:

 1.      This Complaint against the United States of America is brought under the Federal Tort
         Claims Act for negligent medical care by employees and agents of the Cheyenne,
         Wyoming Veterans Administration Medical Center (“VAMC”) which caused Roxanne
         Russell to suffer permanent injuries, damages, losses and disability as described below.

 2.      Roxanne Russell is a resident of Weld County, Colorado, and an honorably discharged
         veteran of the United States Navy.

 3.      VAMC is a health care center organized under the United States Department of Veterans
         Affairs. Each medical provider who cared for Roxanne Russell at VAMC, including
         Robyn Peckham, M.D. was at all relevant times an employee or agent of VAMC, acting
         within the scope of his or her employment or authority as an agent. The United States of
         America is therefore the appropriate party Defendant.

 4.      This Court has original jurisdiction of this action pursuant to 28 USC §1331 and under 42
         USC §233 and under the Federal Tort Claims Act, 28 USC §§1346(b), 2401(b), and
         2671-2680.

 5.      Plaintiff’s counsel timely submitted to the U.S. Department of Veterans Affairs a Notice
         of Claim Form (“Standard Form 95”), which was received by that Department on
         February 23, 2016.

 6.      As of the date of the filing of this Complaint, more than six months has passed and the
         U.S. Department of Veterans Affairs has failed to make final disposition of Ms. Russell’s
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       claim. This constitutes a final denial of Ms. Russell’s claim. Plaintiff has therefore
       exhausted her administrative remedies.

 7.    Plaintiff resides in the District of Colorado, making venue proper in the District of
       Colorado. 28 USC §1402(b).

 8.    On April 21, 2014 Ms. Russell underwent a right total knee arthroplasty (TKA) at the
       Cheyenne, Wyoming Veterans Administration Medical Center, performed by Dr. Robyn
       Peckham. The surgery was recommended to Ms. Russell due to degenerative arthritis in
       her right knee and associated pain and dysfunction.

 9.    The implants used during the April 21, 2014 surgery included a Smith and Nephew
       Genesis II femoral component, size 6, a tibial component, size 4, with a 9-mm high flex
       poly and a 23-mm biconvex inset patellar component.

 10.   Following the April 21, 2014 surgery, Ms. Russell experienced progressive worsening
       pain, dysfunction and limitation in her right knee. Ms. Russell attended several post-
       operative follow up visits with Dr. Peckham without adequate relief of these symptoms.

 11.   On September 4, 2014, Ms. Russell presented to Dr. Riley Hale, an Orthopedic Surgeon
       in Greeley, Colorado, for a second opinion. As of this visit Ms. Russell was experiencing
       constant pain with weight bearing, recurrent swelling, decreasing range of motion,
       decreased mobility, joint instability, limping and swelling. X-rays taken during this visit
       revealed an oversized femur; the tibial cut was in varus (turned inward toward the
       midline of the body to an abnormal degree), with medial tibial overhang. Dr. Hale
       concluded that Ms. Russell’s symptoms were due to improper sizing and position of both
       the femoral and tibial components. Dr. Hale recommended a revision of Ms. Russell’s
       right TKA.

 12.   On December 31, 2014, Ms. Russell underwent a right revision TKA surgery performed
       by Dr. Hale. Findings at surgery revealed significant hyperextension, and at least 5 mm
       of overhang of the tibial baseplate starting anterior medial and extending all the way
       around the posterior medial aspect of the tibia. The femur was found to be quite large.
       Significant lateral bone was removed upon freshening the tibial cut as the original cut
       was in varus (turned inward toward the midline of the body to an abnormal degree). Also,
       the femur was in slight internal rotation. A Depuy size 2.5 MBT revision tibial tray with a
       29 porous sleeve was used with a 2.5 femoral TC3 femoral component with a 31 mm
       porous sleeve. The patella was left unchanged.

 13.   Following the December 31, 2014 revision, Ms. Russell continued to struggle with pain,
       tenderness and instability over the entire aspect of her right anterior knee. As of August,
       2015, her symptoms had progressed to a point where Dr. Hale recommended a second
       revision surgery.

 14.   On October 15, 2015, Ms. Russell underwent a second right revision TKA surgery
       performed by Dr. Hale.
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 15.   Since the October 15, 2015 surgery, Ms. Russell has continued to experience ongoing and
       worsening pain, dysfunction and limitation in her right knee. Her condition has
       progressed and her discomfort is nearly constant. These symptoms are negatively-
       impacting every aspect of her personal and vocational functioning. She is experiencing
       substantial difficulty completing necessary daily tasks including work, as the symptoms
       are exacerbated by most activity and are generally the worst at the end of the workday.
       She is experiencing exacerbated depression and anxiety, sleep disturbance and daily
       fatigue.

 16.   In July, 2016, Ms. Russell came under the care of a Pain Management physician and was
       diagnosed with bilateral lower extremity complex regional pain syndrome (CRPS). Her
       medical care is ongoing and her prognosis is uncertain.

 17.   At all relevant times Dr. Peckham was an orthopedic surgeon employed by VAMC.
       Defendant United States of America is responsible for all negligent acts and/or omissions
       of Dr. Robyn Peckham during the relevant timeframe.

 18.   Dr. Peckham owed Plaintiff Roxanne Russell a duty to exercise that degree of care, skill,
       caution, diligence and foresight exercised and expected of physicians under the same or
       similar circumstances.

 19.   Dr. Peckham deviated from the standard of care required and was negligent in her care
       and treatment of Plaintiff Roxanne Russell. Dr. Peckham’s negligence included, but is
       not limited to the following:

       a.     Improperly performing the original right TKA on April 21, 2014;

       b.     Oversizing the femoral component;

       c.     Cutting the tibia in varus;

       d.     Incorrectly placing the tibial component in varus;

       e.     Causing the tibial implant to overhang the medial side of the tibia;

       f.     Improper use of a tourniquet in connection with the April 21, 2014 surgery.

 20.   As a direct and proximate result of Dr. Peckham’s negligence, Plaintiff Roxanne Russell
       has suffered injuries, damages and losses, including but not limited to lower extremity
       complex regional pain syndrome (CRPS), past and future economic damages, past and
       future non-economic damages, past and future physical impairment, and past and future
       disfigurement.
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 21.    As a direct and proximate result of Dr. Peckham’s negligence, Plaintiff Roxanne Russell
        has past and future damages for pain, suffering, inconvenience, emotional distress, and
        impairment of quality of life.

 22.    As a direct and proximate result of Dr. Peckham’s negligence, Plaintiff Roxanne Russell
        has and will incur damages pertaining to ongoing medical expenses, lost income and lost
        earning capacity, home services, home alterations, medical care, therapy,
        pharmaceuticals, surgeries, prostheses, medical devices, transportation, travel, and other
        expenses.

         WHEREFORE, Plaintiff Roxanne Russell prays for an award of compensatory damages
 in favor of the Plaintiff and against the Defendant in an amount to be determined by the trier-of-
 fact, and an award of pre-filing interest, post-filing interest, pre-judgment interest, post-judgment
 interest, all other interest permitted by law, all costs permitted by law, expert witness fees, filing
 fees, deposition expenses, and for such other and further relief as this Court may deem
 appropriate.


        Respectfully submitted this 15th day of November, 2016.

                                                PARKER LIPMAN LLP


                                                s/ Christopher Koupal
                                                Christopher P. Koupal, #35516
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